Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 1 of 102




          EXHIBIT A
                     PART 1 OF 2
  Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 2 of 102




United States v. Charlie Javice and Olivier Amar




                                                                             1
    Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 3 of 102




United States v. Charlie Javice and Olivier Amar




     1       What the Evidence Has Shown


             Ten Reasons You Know
     2       the Defendants Are Guilty


     3       The Charges and the Law




                                                                               2
    Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 4 of 102




United States v. Charlie Javice and Olivier Amar




     1       What the Evidence Has Shown


             Ten Reasons You Know
     2       the Defendants Are Guilty


     3       The Charges and the Law




                                                                               3
    Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 5 of 102




United States v. Charlie Javice and Olivier Amar




     1       What the Evidence Has Shown


             Ten Reasons You Know
     2       the Defendants Are Guilty


     3       The Charges and the Law




                                                                               4
        Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 6 of 102




         The Charges Against the Defendants


Count                                     Charge

  1      Conspiracy to Commit Wire and Bank Fraud

  2      Wire Fraud

  3      Bank Fraud

  4      Securities Fraud


                                                                                   5
Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 7 of 102




                                                                           6
     Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 8 of 102




Ten Reasons You Know the Defendants Are Guilty




                                                                                7
     Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 9 of 102




Ten Reasons You Know the Defendants Are Guilty




 1. The Defendants Told Lies Together During Diligence




                                                                                8
         Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 10 of 102




  The Defendants Told Lies Together During Diligence




                   Q. How did she define "user"?

  Leslie           A. "User" was defined as someone who signed up
Wims Morris        for her service, so someone who signed up and
                   entered their first name, last name, telephone
                   number, and e-mail address.
                                                                                     Trial Tr. 570:6-9




                                                                                                         9
          Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 11 of 102




 The Defendants Told Lies Together During Diligence


                    A. She consistently represented that Frank had 4.25
                    million customers that it signed up for the product.
                    Q. And did she define the customer user?
                    A. Yes.
  Alex
                    Q. How did Ms. Javice define that?
Sweeney
                    A. She defined a customer as a person that came to
                    the Frank, provided their first name, last name, email
                    address, and phone number, and accepted the
                    terms of the Frank service, and signed up for an
                    account.
                                                                                      Trial Tr. 1450:10-18




                                                                                                             10
        Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 12 of 102




The Defendants Told Lies Together During Diligence



                  Q. What did you understand a customer of Frank to
                  mean?
                  A. Someone who had established an account with
Mason             Frank through providing name, email, and phone
Young             number.
                  Q. How many customers did you understand Frank
                  to have?
                  A. A little over 4 million at the time we did diligence.
                                                                                    Trial Tr. 2111:14-18




                                                                                                           11
          Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 13 of 102




 The Defendants Told Lies Together During Diligence




                    Q. When the management presentation said Frank
                    had 4.25 million users, what was a Frank user?

Houston             A. A Frank user was someone who went through this
 Cowan              flow, put in their first name, last name, email
                    address, had gone through the one-time password
                    flow. That was our understanding in how it was
                    defined.                                        Trial Tr. 156:15-20




                                                                                          12
Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 14 of 102




                                                                            13
                Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 15 of 102




          The Defendants Told Lies Together During Diligence




GX 3034
                                                                                            14
                Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 16 of 102




          The Defendants Told Lies Together During Diligence




GX 1140
                                                                                            15
Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 17 of 102




                                                                            16
         Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 18 of 102




   The Defendants Told Lies Together During Diligence




                   Q. How, if at all, did Ms. Javice define a user?
   Sindhu
Subramaniam        A. She defined a user as someone with a first name,
                   last name, e-mail address, and a phone number.
                                                                                     Trial Tr. 2297:15-17




                                                                                                            17
         Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 19 of 102




   The Defendants Told Lies Together During Diligence




                   Q. How many such users did Ms. Javice say Frank
   Sindhu          had, if she said so at all?
Subramaniam
                   A. 4.25 million.



                                                                                     Trial Tr. 2297:18-25




                                                                                                            18
         Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 20 of 102




   The Defendants Told Lies Together During Diligence


                   Q. At this meeting, was there discussion of Frank's
                   website visitors?
                   A. Yes.

   Sindhu          Q. Who addressed that topic on behalf of Frank?
Subramaniam        A. Charlie again.
                   ...
                   Q. What was that number?
                   A. 35 million.
                                                                                Trial Tr. 2297:21-25, 2299:5-6




                                                                                                                 19
Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 21 of 102




                                                                            20
                Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 22 of 102




          The Defendants Told Lies Together During Diligence




GX 1501
                                                                                            21
                         Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 23 of 102




                   The Defendants Told Lies Together During Diligence




GX 2035, GX 1501                                                                                     22
Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 24 of 102




                                                                            23
        Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 25 of 102




The Defendants Told Lies Together During Diligence




                  Q. Did it matter to Capital One who, from the target
                  company, provided answers to Capital One's
Mason             questions?
Young             A. Yes. We clearly want the most knowledgeable
                  person who could provide us with accurate data
                  during diligence.                                                 Trial Tr. 2284:22-25




                                                                                                           24
        Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 26 of 102




The Defendants Told Lies Together During Diligence




                  Q. And who did you understand, from the diligence
Mason             process, to be most knowledgeable about issues
Young             such as customer acquisition at Frank?
                  A. Mr. Amar                                                       Trial Tr. 2285:1-4




                                                                                                         25
          Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 27 of 102




              Amar Lies at the July 8th Meeting




GX 1691
                                                                                      26
          Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 28 of 102




              Amar Lies at the July 8th Meeting




GX 3041
                                                                                      27
                   Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 29 of 102




                       Amar Lies at the July 8th Meeting




GX 3041, GX 2036
                                                                                               28
Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 30 of 102




                                                                            29
          Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 31 of 102




              Amar Lies at the July 8th Meeting




GX 3040
                                                                                      30
          Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 32 of 102




              Amar Lies at the July 8th Meeting




GX 3040
                                                                                      31
          Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 33 of 102




              Amar Lies at the July 8th Meeting




GX 3042
                                                                                      32
      Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 34 of 102




Ten Reasons You Know the Defendants Are Guilty




1. The Defendants Told Lies Together During Diligence
2. The Defendants Created the Fraud Spreadsheet Together




                                                                                  33
                   Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 35 of 102




           The Defendants Created the Fraud Spreadsheet Together




GX 3.1.4
                                                                                               34
         Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 36 of 102




The Defendants Created the Fraud Spreadsheet Together




                   Q. Ms. Wong, putting aside the spreadsheet for a
   Jen             moment, could a user start a FAFSA application
  Wong             using Frank's tool without creating a Frank account?
                   A. No.                                                            Trial Tr. 1088-1089:23-1




                                                                                                                35
                   Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 37 of 102




           The Defendants Created the Fraud Spreadsheet Together




GX 3.1.4
                                                                                               36
                  Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 38 of 102




          The Defendants Created the Fraud Spreadsheet Together




GX 3013
                                                                                              37
                   Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 39 of 102




           The Defendants Created the Fraud Spreadsheet Together




GX 3.1.4
                                                                                               38
Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 40 of 102




                                                                            39
          Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 41 of 102




The Defendants Created the Fraud Spreadsheet Together




   CREATION
                        FILE NAME                        EDITORS                      GX
     DATE

                                                charlie@withfrank.org
                                                                                      G516
   06/24/2021       User_Breakdown               olivier@withfrank.org
                                                                                      G517
                                               jen.wong@withfrank.org




                                                                                             40
                  Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 42 of 102




          The Defendants Created the Fraud Spreadsheet Together




                GX G516



GX 1636
                                                                                              41
                             Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 43 of 102




           The Defendants Created the Fraud Spreadsheet Together




11:00 AM                                                                                                 2:15 PM


        11:06:11
      Javice emails
  “User_Breakdown_C
    J_v2” to Liontree
         GX3010




     All times are in EDT.



                                                                                                           42
                  Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 44 of 102




          The Defendants Created the Fraud Spreadsheet Together




GX 3010                                                                                       43
                  Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 45 of 102




          The Defendants Created the Fraud Spreadsheet Together




GX 1678
                                                                                              44
                              Case 1:23-cr-00251-AKH    Document 383-1    Filed 04/28/25   Page 46 of 102




           The Defendants Created the Fraud Spreadsheet Together


                                      Call between Javice and Amar
                                        1:56:20 pm – 2:01:25 pm
                                    Duration: 5 minutes and 5 seconds
                                             GX902, 903, 925

11:00 AM                                                                                                    2:15 PM


        11:06:11                   1:57:43 pm              1:58:07 pm
      Javice emails               Javice shares            Amar views
  “User_Breakdown_C          “User_Breakdown_CJ_v2   “User_Breakdown_CJ_v2”
    J_v2” to Liontree              ” with Amar               GXG521
         GX3010                      GX1678




     All times are in EDT.



                                                                                                              45
                              Case 1:23-cr-00251-AKH    Document 383-1    Filed 04/28/25   Page 47 of 102




           The Defendants Created the Fraud Spreadsheet Together


                                      Call between Javice and Amar
                                        1:56:20 pm – 2:01:25 pm
                                    Duration: 5 minutes and 5 seconds
                                             GX902, 903, 925

11:00 AM                                                                                                    2:15 PM


        11:06:11                   1:57:43 pm              1:58:07 pm
      Javice emails               Javice shares            Amar views
  “User_Breakdown_C          “User_Breakdown_CJ_v2   “User_Breakdown_CJ_v2”
    J_v2” to Liontree              ” with Amar               GXG521
         GX3010                      GX1678
                                                           1:58:49 pm
                                                            Amar edits
                                                     “User_Breakdown_CJ_v2”
                                                             GXG521
     All times are in EDT.



                                                                                                              46
                              Case 1:23-cr-00251-AKH    Document 383-1    Filed 04/28/25   Page 48 of 102




           The Defendants Created the Fraud Spreadsheet Together


                                      Call between Javice and Amar
                                        1:56:20 pm – 2:01:25 pm
                                    Duration: 5 minutes and 5 seconds
                                             GX902, 903, 925

11:00 AM                                                                                                                   2:15 PM


        11:06:11                   1:57:43 pm              1:58:07 pm                2:02:01 pm
      Javice emails               Javice shares            Amar views                Amar views                    2:03:39 pm
  “User_Breakdown_C          “User_Breakdown_CJ_v2   “User_Breakdown_CJ_v2”    “User_Breakdown_CJ_v2”             Javice emails
    J_v2” to Liontree              ” with Amar               GXG521                    GXG521               “User_Breakdown_CJ_v3”
         GX3010                      GX1678                                                                        to Liontree
                                                           1:58:49 pm                 2:02:30 pm                     GX3011
                                                            Amar edits              Javice renames
                                                     “User_Breakdown_CJ_v2”    “User_Breakdown_CJ_v2”
                                                             GXG521                        to
                                                                               “User_Breakdown_CJ_v3”
     All times are in EDT.
                                                                                        GXG521


                                                                                                                             47
                         Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 49 of 102




                     Ten Reasons You Know the Defendants Are Guilty




GX 3011, GX 3011-A                                                                                   48
                        Case 1:23-cr-00251-AKH   Document 383-1    Filed 04/28/25   Page 50 of 102




          The Defendants Created the Fraud Spreadsheet Together



           CREATION
                                     FILE NAME                              EDITORS                  GX
             DATE

                                                                    charlie@withfrank.org
                                                                                                     G516
           06/24/2021            User_Breakdown                     olivier@withfrank.org
                                                                                                     G517
                                                                  jen.wong@withfrank.org


                                                                   charlie@withfrank.org             G520
           06/24/2021       User_Breakdown_CJ_v4
                                                                   olivier@withfrank.org             G521




GX 1636
                                                                                                            49
      Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 51 of 102




Ten Reasons You Know the Defendants Are Guilty




1. The Defendants Told Lies Together During Diligence
2. The Defendants Created the Fraud Spreadsheet Together
3. The Defendants’ Lies Were Important to Potential Buyers




                                                                                  50
        Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 52 of 102




The Defendants’ Lies Were Important to Potential Buyers




                  A. . . . so what we were really buying was that
  Sarah           customer list that would enable us then to do more
Youngwood         with those engaged users, and so that was the
                  rationale for the transaction.               Trial Tr. 1393-1394:25-3




                                                                                          51
         Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 53 of 102




The Defendants’ Lies Were Important to Potential Buyers



                   Q. Why was Capital One interested in acquiring
                   Frank?
                   A. So for Frank specifically, Capital One was
 Mason             interested in acquiring a large audience of primarily
 Young             young adults that we could engage with outside of
                   financial products and services but over time cross-
                   market Capital One's financial products to that
                   audience.
                                                                                     Trial Tr. 2110-2111:25-4




                                                                                                                52
           Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 54 of 102




The Defendants’ Lies Were Important to Potential Buyers



                     Q. Well, financial products, what does it mean to sell
                     them additional things in that context?
                     A. Throughout the process, my understanding was
 Houston             that financial institutions that were interested would
  Cowan              leverage the data and users to then, you know, grow
                     with that customer, providing them credit cards or,
                     you know, bank accounts, whatever it might be, in
                     that context.
                                                                                       Trial Tr. 153:7-11




                                                                                                            53
Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 55 of 102




                                                                            54
        Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 56 of 102




The Defendants’ Lies Were Important to Potential Buyers




                  A. . . . but if somebody actually takes the time to give
                  you information that is very personal and
  Sarah
                  confidential, at that point you have established a
Youngwood
                  level of trust that is relevant to continuing to do more
                  with that relationship.                           Trial Tr. 1395:9-13




                                                                                          55
Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 57 of 102




                                                                            56
         Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 58 of 102




The Defendants’ Lies Were Important to Potential Buyers




                   A. So what I said to Ms. Javice in that conversation
                   was, when we read the customer privacy policy,
  Leslie
                   there was a specific sentence that said that they
Wims Morris
                   could share customer PII if in fact the company was
                   going through a merger and acquisition process.
                                                                                     Trial Tr. 615-616:22-1




                                                                                                              57
Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 59 of 102




                                                                            58
      Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 60 of 102




Ten Reasons You Know the Defendants Are Guilty




1. The Defendants Told Lies Together During Diligence
2. The Defendants Created the Fraud Spreadsheet Together
3. The Defendants’ Lies Were Important to Potential Buyers
4. The Defendants Used Fake Data to Trick the Bank




                                                                                  59
          Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 61 of 102




  The Defendants Used Fake Data to Trick the Bank




                    She said she wanted to know if it could be easy,
                    complex, meaning can it be done very fast, in a day
                    or if it takes more time, to take our user base of
Patrick
                    about 300K users and grow it to 4 million users, and
Vovor
                    when doing so, keeping the same statistical
                    distribution of people with college degree.
                    ...                                                               Trial Tr. 1529:15-20




                                                                                                             60
                       Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 62 of 102




                  The Defendants Used Fake Data to Trick the Bank




GX 1054, GX 202
                                                                                                   61
             Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25    Page 63 of 102




        The Defendants Used Fake Data to Trick the Bank


                                       Customer Data

First      Last        Age      Occupation      Street Address          City              State Zip
John       Smith       21       Student         123 Main Street         New York          NY    10007




                                       Synthetic Data

First      Last        Age      Occupation      Street Address          City              State Zip
Matt       Green       21       Student         321 Elm Street          New York          NY    10007



                                                                                                        62
                       Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25    Page 64 of 102




                 The Defendants Used Fake Data to Trick the Bank


                                                 Customer Data

         First       Last        Age      Occupation      Street Address          City              State Zip
         John        Smith       21       Student         123 Main Street         New York          NY    10007




                                          Synthetic  Data Data
                                                Synthetic
                                             Synthetic  Data
                                                  Synthetic  Data Data
                                                         Synthetic
FirstFirst      Last Last Age Age           Synthetic
                                    Occupation        Data
                                                  Street
                                        Occupation Street Address
                                                             Address City
                                                      StreetAddress       City       State State
                                                                                             Zip
  First           Last         Age Occupation                             City         State Zip Zip
Emmanuel  First Patterson
                        Last 18 LastStudent
                First White         Age Age Occupation
                                                 OccupationStreetStreet
                                                  H2KU54JzygsOx   Address      City TX
                                                                         Address
                                                                        Austin       City     StateState
                                                                                             55912   Zip Zip
 FirstLesley
  Isabella     Last
                  Stover     Age
                               19 19 Occupation
                                        Student     Street
                                      StudentSynthetic     Address
                                                      VR74r2hMoB6kb
                                                          Synthetic
                                                     0zvYFl4GGHpUz   DataCity
                                                                          San  AntonioStateTX Zip  78220
                                                          Synthetic DataSan Jose
                                                        Data                           CA      95121
          Matt Kylie Green Moyer    21    20Student
                                                 Student   321 Elm   Street New York
                                                                 NqArjnASU69az       JeffersonNY PA1000727105
 Kristina      Barker        36      Student  Synthetic
                                           Synthetic    Data
                                                      Data
                                                    ls2a2qhrGf0MP
                                                           Synthetic     Arvada
                                                                      Data            CO      80007
  First          First
                  Last
                  First        LastLast
                              Age         Synthetic
                                     Occupation      Data
                                           AgeAge Occupation
                                                     Occupation
                                                    Street Address Street
                                                                   Street  Address City
                                                                         City
                                                                          Address        City Zip
                                                                                       State         State Zip
                                                                                                     State  Zip
First
    First      Last Last AgeAge
                 Katherine
                   First            Occupation
                                    Gordy
                                  Last        30 Street
                                       Occupation         Address
                                                      Street
                                                     Student Address   CityCity
                                                                           Address State
                                                                   GbozPn8RWxSPU        StateZip Zip CA
                                                                                         Upland       State 91730
First
  Annie      Last Lynch
                  Malcolm  Age27
                               Comeau      28Age
                                    Occupation
                                     Student        Occupation
                                                  Street
                                                    gllNjPcUbtMyh
                                                   Student          Street
                                                          Address Rg8tfRhcLnzVV
                                                                       City
                                                                         Augusta        City
                                                                                    State
                                                                                       GA
                                                                                     Yukon   Zip
                                                                                               30901 OK      Zip
                                                                                                            73127
Andrew
    Wanda Silva     Prieto 20 19HoStudent
                                       Student    VPhUa9Kc2n354
                                                      7oD1V5IZpe70A    Brooklyn
                                                                           Boise    NY Arlington
                                                                                        ID 11204 83705
Shironda AckerJon          50       Student 27      Student
                                                  JZM2r9CO3OcNa     Qh5pSFTb4Z7YI
                                                                       Hesperia     CA       73127 TX        76053
                                                                                                             63
              Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 65 of 102




          The Defendants Used Fake Data to Trick the Bank




GX 1066                                                                                   64
          Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 66 of 102




  The Defendants Used Fake Data to Trick the Bank




                    To take the FAFSA data that we had, that I had in my
                    database, in the AWS cloud, and generate a bigger
Patrick
                    file of 4 million users that would have FAFSA data
Vovor
                    generated using the technique that we showed in the
                    other document.
                                                                                      Trial Tr. 1561-1562:24-2




                                                                                                                 65
               Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 67 of 102




          The Defendants Used Fake Data to Trick the Bank




GX G506
                                                                                           66
               Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 68 of 102




          The Defendants Used Fake Data to Trick the Bank




GX G506
                                                                                           67
                         Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 69 of 102




                    The Defendants Used Fake Data to Trick the Bank




GX G506, GX 3.1.4
                                                                                                     68
Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 70 of 102




                                                                            69
          Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 71 of 102




  The Defendants Used Fake Data to Trick the Bank




Patrick
Vovor               A. I asked them if it was even legal, this request.
                                                                                      Trial Tr. 1575:14




                                                                                                          70
          Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 72 of 102




  The Defendants Used Fake Data to Trick the Bank




Patrick
Vovor               A. So I told them that I will not do anything illegal.
                                                                                      Trial Tr. 1576:13-14




                                                                                                             71
Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 73 of 102




                                                                            72
                 Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 74 of 102




            The Defendants Used Fake Data to Trick the Bank




GX 802-60
                                                                                             73
               Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 75 of 102




          The Defendants Used Fake Data to Trick the Bank




GX 2801
                                                                                           74
Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 76 of 102




                                                                            75
               Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 77 of 102




          The Defendants Used Fake Data to Trick the Bank




GX 1752
                                                                                           76
Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 78 of 102




                                                                            77
              Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 79 of 102




         The Defendants Used Fake Data to Trick the Bank




GX G72
                                                                                          78
              Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 80 of 102




         The Defendants Used Fake Data to Trick the Bank




GX G72
                                                                                          79
              Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 81 of 102




         The Defendants Used Fake Data to Trick the Bank




GX G72
                                                                                          80
                          Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 82 of 102




                              Amar Knew About Adam Kapelner




                                                   August 3, 2021
                          Time
                                                         Communication
                        (Eastern)
                         9:00 AM      First call between Javice and Kapelner (11 min).




GX 902, GX903, GX1565
                                                                                                      81
                                   Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 83 of 102




                                       Amar Knew About Adam Kapelner




                                                            August 3, 2021
                                   Time
                                                                  Communication
                                 (Eastern)
                                  9:00 AM     First call between Javice and Kapelner (11 min).

                                  9:13 AM     Javice calls Amar (7 min).




GX 902, GX 903, GX 925, GX1565
                                                                                                               82
                                   Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 84 of 102




                                        Amar Knew About Adam Kapelner




                                                            August 3, 2021
                               Time
                                                                  Communication
                             (Eastern)
                                9:00 AM        First call between Javice and Kapelner (11 min).

                                9:13 AM        Javice calls Amar (7 min).

                               10:27 AM        Amar shares the fake data instructions with Javice




GX 902, GX 903, GX 925, GX1565, GXG73
                                                                                                               83
                                   Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 85 of 102




                                                 Knowledge of Kapelner



                                                            August 3, 2021
                                Time
                                                                  Communication
                              (Eastern)
                                 9:00 AM       First call between Javice and Kapelner (11 min).

                                 9:13 AM       Javice calls Amar (7 min).

                                10:27 AM       Amar shares the fake data instructions with Javice

                                10:28 AM       Javice calls Amar (3.5 min)




GX 902, GX 903, GX 925, GX1565, GXG73
                                                                                                               84
                                   Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 86 of 102




                                          Amar Knew About Adam Kapelner


                                                            August 3, 2021
                               Time
                                                                  Communication
                             (Eastern)
                                9:00 AM          First call between Javice and Kapelner (11 min).

                                9:13 AM          Javice calls Amar (7 min).

                               10:27 AM          Amar shares the fake data instructions with Javice

                               10:28 AM          Javice calls Amar (3.5 min)

                               10:37 AM          Javice texts Amar



GX 902, GX 903, GX 925, GX1565, GXG73, GX801-7                                                                 85
                   Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 87 of 102




                        Amar Knew About Adam Kapelner

                                            August 3, 2021
       Time (Eastern)         Sender                                      Message
                                                 U don’t have address in here. What’s the
     10:37:18 AM        Javice
                                                 drop off

     10:37:34 AM        Javice                   Same with birthday

     10:37:43 AM        Amar                     Because they don't have dropoff

     10:37:49 AM        Javice                   So what step

     10:37:51AM         Amar                     we eliminated them from the report

GX 801-7
                                                                                               86
                                   Case 1:23-cr-00251-AKH      Document 383-1   Filed 04/28/25   Page 88 of 102




                                          Amar Knew About Adam Kapelner

                                                              August 3, 2021
                                Time
                                                                     Communication
                              (Eastern)
                                9:00 AM              First call between Javice and Kapelner (11 min).

                                9:13 AM              Javice calls Amar (7 min).

                               10:27 AM              Amar shares the fake data instructions with Javice

                               10:28 AM              Javice calls Amar (3.5min)

                               10:37 AM              Javice texts Amar

                                1:49 PM              Javice sends Kapelner the fake data instructions


GX 902, GX 903, GX 925, GX1565, GXG73, GX801-7; GX1077
                                                                                                                  87
          Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 89 of 102




              Amar Knew About Adam Kapelner




GX 1077
                                                                                      88
                                   Case 1:23-cr-00251-AKH        Document 383-1   Filed 04/28/25   Page 90 of 102




                                          Amar Knew About Adam Kapelner

                                                                 August 3, 2021
                               Time
                                                                       Communication
                             (Eastern)
                                9:00 AM             First call between Javice and Kapelner (11 min).

                                9:13 AM             Javice calls Amar (7 min).

                               10:27 AM             Amar shares the fake data instructions with Javice

                               10:28 AM             Javice calls Amar (3.5min)

                               10:37 AM             Javice texts Amar

                                1:49 PM             Javice sends Kapelner the fake data instructions

                                2:15 PM             Javice and Kapelner speak

GX 902, GX 903, GX 925, GX1565, GXG73, GX801-7, GX1077, GX2801
                                                                                                                    89
                                    Case 1:23-cr-00251-AKH             Document 383-1   Filed 04/28/25   Page 91 of 102




                                          Amar Knew About Adam Kapelner
                                                                      August 3, 2021
                                 Time
                                                                             Communication
                               (Eastern)
                                  9:00 AM              First call between Javice and Kapelner (11 min).
                                  9:13 AM              Javice calls Amar (7 min).
                                 10:27 AM              Amar shares the fake data instructions with Javice
                                 10:28 AM              Javice calls Amar (3.5min)
                                 10:37 AM              Javice texts Amar
                                  1:49 PM              Javice sends Kapelner the fake data instructions
                                  2:15 PM              Javice and Kapelner speak
                                  2:30 PM              Javice texts Amar
GX 902, GX 903, GX 925, GX1565, GXG73, GX801-7, GX1077, GX2801, GX 801-10
                                                                                                                          90
                   Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 92 of 102




                        Amar Knew About Adam Kapelner



                                            August 3, 2021
       Time (Eastern)         Sender                                      Message
                                                 I found my genius. He says it will take him
     2:30:07 PM         Javice
                                                 an hour

     2:49:03 PM         Amar                     Great




GX 801-10
                                                                                               91
                  Case 1:23-cr-00251-AKH    Document 383-1   Filed 04/28/25   Page 93 of 102




                      Amar Knew About Adam Kapelner

                                           August 3, 2021
     Time (Eastern)         Sender                                       Message

    08:20:55 AM       Javice                    Finished data at 2am

    08:21:02 AM       Amar                      How’s it go?
                                                He did a fantastic job. Truly. We powered
    08:21:50 AM       Javice
                                                through together
                                                Fun getting to work with ur old stat
    08:22:03 AM       Javice
                                                professor :)



GX 801-15
                                                                                               92
               Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 94 of 102




          The Defendants Used Fake Data to Trick the Bank




GX 1147
                                                                                           93
     Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 95 of 102




The Defendants Used Fake Data to Trick the Bank




                                                                                 94
Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 96 of 102




                                                                            95
                 Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 97 of 102




            The Defendants Used Fake Data to Trick the Bank




GX 1292-A
                                                                                             96
Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 98 of 102




                                                                            97
           Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 99 of 102




     Ten Reasons You Know the Defendants Are Guilty




1. The Defendants Told Lies Together During Diligence
2. The Defendants Created the Fraud Spreadsheet Together
3. The Defendants’ Lies Were Important to Potential Buyers
4. The Defendants Used Fake Data to Trick the Bank
5. The Defendants Bought Data to Cover Their Tracks




                                                                                       98
           Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 100 of 102




          The Defendants Data to Cover Their Tracks




GX 1643
                                                                                        99
       Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 101 of 102




The Defendants Bought Data to Cover Their Tracks




Tani             A. That she was looking for a student
Ochs             marketing list and it needed to contain e-mail.
                                                                                    Trial Tr. 910:8-9




                                                                                                        100
       Case 1:23-cr-00251-AKH   Document 383-1   Filed 04/28/25   Page 102 of 102




The Defendants Bought Data to Cover Their Tracks




                 Q. And when did she say that she wanted to
                 purchase that student data by?
Tani
Ochs             A. She didn't give me an exact date but she did
                 make it clear that a decision would be made pretty
                 rapidly.                                    Trial Tr. 908-909:25-3




                                                                                      101
